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Case 07-12387-JKO Doc 24 Filed 03/18/08 Page 2 of 2 .
I Ma IAQ UO Nelson, Watson & Associates, LLC
OX

80 Merrimack Street Lower Level

H hill MA 01831 Haverhill, MA 01830
RETURN SERVICE REQUESTED Phone: 800-213-5124 * Fax:(978) 469-9046
March 10. 2008 Current Creditor:
NORTH STAR CAPITAL ACQUISITION LLC
Acct #: 15553808

TNST37283 - A1020 - 001442 Balance Due: $1353.05

Richard L Brver

537 NE 47th St Nelson, Watson & Associates, LLC

Pompano Beach FL 33064-4144 PO Box 1299

Fue VDscoEdaDDannalDonndoubuluatensdDaQandedoadecdalecnforslld Haverhill MA 01831-1799

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*** Detach Upper Portion and Return with Payment *** NWAA2102T Y865E2DC0

Principal: $976.71
Interest: $376.94

Current Creditor: NORTH STAR CAPITAL ACQUISITION LLC Total Balance: = $1353.65

Original Creditor: WELLS FARGO FINANCIAL
Acct No.: 15553808
ARE YOU RECEIVING A TAX REFUND THIS YEAR?

USE YOUR TAX REFUND TO YOUR ADVANTAGE
TAX TIME SPECIAL SETTLEMENT OFFER.

The above referenced account has been placed with this office for collection. Remittance of the payment in full is
hereby requested. However, North Star Capital Acquisitions has agreed to accept one single payment in the amount of
$920.48 as a settlement on this account. FUNDS MUST BE RECEIVED IN MY OFFICE NO LATER THAN THE
CLOSE OF BUSINESS MAR 31, 2008. This offer or some other settlement offer may or may not be made available
to vou at a future date.

For your security, please make all payments pavable to Nelson, Watson & Associates LLC.

This communication is from a debt collector. This is an attempt to collect a debt. All information obtained will
be used for that purpose.

Please call Monday through Thursday 8am to 9pm EST, Friday 8am to 5pm EST, or Saturday 9am to Ipm EST.

Sincerely,
Consumer Services Department

 

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IF YOU WISH TO PAY BY VISA OR MASTERCARD, (CIRCLE ONE) FILLIN THE INFORMATION | VISA (aaCarall
BELOW AND RETURN THE ENTIRE LETTER TO US IN THE ENCLOSED ENVELOPE. _
$ /
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Account Number Payment Amount Expire Date

 

 

Card Holder Name Signature of Card Hoider
